     Case 8:20-cv-01428-DOC-ADS Document 1 Filed 08/04/20 Page 1 of 10 Page ID #:1


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 6

 7                         UNITED STATES DISTRICT COURT
 8                        CENTRAL DISTRICT OF CALIFORNIA
 9

10   JAMES RUTHERFORD, an                   Case No.
11   individual,                            Complaint For Damages And
                 Plaintiff,                 Injunctive Relief For:
12   v.
13                                           1. VIOLATIONS OF THE
     LA MICHOACANA PREMIUM DE                   AMERICANS WITH DISABILITIES
14   SANTA ANA I, INC., a California            ACT OF 1990, 42 U.S.C. §12181 et
15   corporation; MGP XI SANTA ANA              seq. as amended by the ADA
     CENTRE LLC, a Delaware limited             Amendments Act of 2008 (P.L. 110-
16   liability company; and DOES 1-10,          325).
17   inclusive,
18                     Defendants.           2. VIOLATIONS OF THE UNRUH
                                                CIVIL RIGHTS ACT, CALIFORNIA
19                                              CIVIL CODE § 51 et seq.
20

21         Plaintiff, JAMES RUTHERFORD, an individual, (“Plaintiff”), complains of
22   Defendants LA MICHOACANA PREMIUM DE SANTA ANA I, INC., a
23   California corporation; MGP XI SANTA ANA CENTRE LLC, a Delaware limited
24   liability company; and Does 1-10 (“Defendants”) and alleges as follows:
25                                        PARTIES
26   1.    Plaintiff is an adult California resident.   Plaintiff’s musculoskeletal and
27   neurological systems are impaired such that Plaintiff is substantially limited in
28   performing one or more major life activities, including but not limited to: walking,

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                                         COMPLAINT
     Case 8:20-cv-01428-DOC-ADS Document 1 Filed 08/04/20 Page 2 of 10 Page ID #:2


 1   standing, ambulating, sitting, in addition to twisting, turning, and grasping objects.
 2   As a result of these disabilities, Plaintiff relies upon manually powered mobility
 3   aids, including a cane, Rollator walker and a wheelchair, to ambulate. Plaintiff
 4   qualifies as a member of a protected class under the Americans with Disabilities
 5   Act, 42 U.S.C. §12102(2) as amended by the ADA Amendments Act of 2008 (P.L.
 6   110-325) (“ADA”) and the regulations implementing the ADA set forth at 28
 7   C.F.R. §§ 36.101 et seq. At the time of Plaintiff’s visits to Defendant’s facility and
 8   prior to instituting this action, Plaintiff suffered from a “qualified disability” under
 9   the ADA, including those set forth in this paragraph. Plaintiff is also the holder of
10   a Disabled Person Parking Placard.
11   2.    Plaintiff is informed and believes and thereon alleges that Defendant MGP
12   XI SANTA ANA CENTRE LLC, owned the property located at 100 N. Harbor
13   Blvd., Santa Ana, CA 92703 (“Subject Property”) where La Michoacana is located,
14   on or around May 27, 2020 and continues to do so currently.
15   3.    Plaintiff is informed and believes and thereon alleges that Defendant LA
16   MICHOACANA PREMIUM DE SANTA ANA I, INC., owned, operated, and
17   controlled La Michoacana (“Business”) located at the Property on May 27, 2020
18   and continues to do so currently.
19   4.    Plaintiff does not know the true name of Defendants, its business capacity,
20   its ownership connection to the Property serving the Business, or its relative
21   responsibilities in causing the access violations herein complained of. Plaintiff is
22   informed and believes that each of the Defendants herein, including Does 1
23   through 10, inclusive, is responsible in some capacity for the events herein alleged,
24   or is a necessary party for obtaining appropriate relief. Plaintiff will seek leave to
25   amend when the true names, capacities, connections, and responsibilities of the
26   Defendants and Does 1 through 10, inclusive, are ascertained.
27                              JURISDICTION AND VENUE
28   5.    This Court has subject matter jurisdiction over this action pursuant to
                                                2
                                           COMPLAINT
     Case 8:20-cv-01428-DOC-ADS Document 1 Filed 08/04/20 Page 3 of 10 Page ID #:3


 1   28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
 2   6.         This court has supplemental jurisdiction over Plaintiff’s non-federal claims
 3   pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
 4   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
 5   federal ADA claims in that they have the same nucleus of operative facts and
 6   arising out of the same transactions, they form part of the same case or controversy
 7   under Article III of the United States Constitution.
 8   7.         Venue is proper in this court pursuant to 28 U.S.C. §1391 because the real
 9   property which is the subject of this action is located in this district and because
10   Plaintiff's causes of action arose in this district.
11                                           FACTUAL ALLEGATIONS
12   8.         On or about May 27, 2020 Plaintiff visited the Business located on the
13   Subject Property for the dual purpose of availing himself to the services provided
14   to the public, purchase ice-cream and to confirm that this public place of
15   accommodation is accessible to persons with disabilities within the meaning
16   federal and state law.1
17   9.         The Business is a facility open to the public, a place of public
18   accommodation, and a business establishment.
19   10.        Parking spaces are one of the facilities, privileges and advantages reserved
20   by Defendants to persons at the Property serving the Business.
21   11.        Unfortunately, although parking and accessible route were one of the
22   facilities reserved for patrons, there were no designated parking or accessible
23   routes available for persons with disabilities that complied with the 2010
24   Americans with Disabilities Act Accessibility Guidelines (“ADAAG”) on May 27,
25   2020 or at any time thereafter up to and including, the date of the filing of this
26   complaint.
27   12.        The Subject Property and Business lack architectural barrier free facilities
28
     1
         Plaintiff Rutherford is a tester in this litigation and a consumer who wishes to access Defendants' goods and services.
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                                                           COMPLAINT
     Case 8:20-cv-01428-DOC-ADS Document 1 Filed 08/04/20 Page 4 of 10 Page ID #:4


 1   for patrons with disabilities, causing Plaintiff to encounter the following barriers at
 2   the Business and Subject Property: (1) accessible parking space is not located on
 3   the shortest accessible route to the entrance per Section 208.3.1 because the only
 4   accessible space is located at the extreme end of the strip2; and (2) there is no
 5   accessible route(s) connecting the parking to the main entrance of the Business or
 6   elements within the facility as required by Section 206.2.2.3
 7   13.      Plaintiff is informed and believes and thereon alleges that, currently, there
 8   are no compliant, accessible facilities designed, reserved and available to persons
 9   with disabilities at the Business in addition to that alleged, supra.
10   14.      Plaintiff is informed and believes and thereon alleges that Defendant(s) had
11   no policy or plan in place to ensure that compliant accessible parking and other
12   compliant facilities, as alleged above, were available and maintained for persons
13   with disabilities prior to May 27, 2020.
14   15.      Plaintiff is informed and believes and thereon alleges Defendant(s) have no
15   policy or plan in place to ensure maintenance of compliant accessible parking and
16   other compliant facilities, as alleged herein, are available and maintained for
17   persons with disabilities and remain compliant on an ongoing basis.
18   16.      Plaintiff personally encountered the alleged barriers at the Business and
19   Property. The presence of these barriers related to Plaintiff’s (mobility) disability
20   denied Plaintiff his right to enjoy accessible conditions at public place of
21   accommodation and invades legally cognizable interests created under the ADA.
22   17.      The conditions identified supra, in paragraph 12 is necessarily related to
23   Plaintiff’s legally recognized mobility disability in that Plaintiff is substantially
24   limited in the major life activities of walking, standing, ambulating, grasping and
25
     2
       Parking spaces complying with 502 that serve a particular building or facility shall be located on the shortest
26   accessible route from parking to an entrance complying with 206.4. Where parking serves more than one accessible
     entrance, parking spaces complying with 502 shall be dispersed and located on the shortest accessible route to the
27   accessible entrances.
     3
       This Section requires that at least one accessible route shall connect accessible buildings, accessible facilities,
28   accessible elements, and accessible spaces that are on the same site, and 206.1 requiring access to the site arrival point
     (main entrance) from the public street
                                                                4
                                                         COMPLAINT
     Case 8:20-cv-01428-DOC-ADS Document 1 Filed 08/04/20 Page 5 of 10 Page ID #:5


 1   sitting; Plaintiff is the holder of a disabled parking placard and because of his
 2   arthritic, neurological, and orthopedic conditions that limit his ability to ambulate,
 3   he utilizes accessible parking, accessible features required by the ADA and a
 4   mobility aid and/or devise. The enumerated conditions relate to the use of the
 5   accessible parking, relate to the slope and condition of the accessible parking and
 6   accessible path, and relate to the safety of the accessible path to the accessible
 7   entrance and facilities inside the Business. Plaintiff encountered each condition
 8   and experienced unnecessary difficulty and/or risk in doing so.
 9   18.     As an individual with a mobility disability who at times is dependent upon
10   various mobility devices, Plaintiff has a keen interest in whether public
11   accommodations have architectural barriers that impede full accessibility to those
12   accommodations by individuals with mobility impairments.
13   19.     Plaintiff’s ability to fully and equally enjoy the Property was interfered with
14   as a result of Defendants’ non-compliance with the ADA.
15   20.     Plaintiff also travels frequently with his disabled fiancé, a quadriplegic who
16   requires a wheelchair to ambulate. When she travels via automobile she utilizes a
17   van with a wheelchair ramp and requires van accessible parking. When they travel
18   together, Plaintiff drives the wheelchair accessible van4.
19   21.       Plaintiff and his fiancé frequently travel together and visit public
20   accommodations as a couple. Here, the inaccessible conditions at the Business and
21   Property prevent Plaintiff from accessing the Business and Property with his fiancé
22   because of his association with her due to her disability.
23   22.     Plaintiff assists and accompanies his fiancé when they travel together in her
24   wheelchair accessible van, including driving the van, and experiences frustration,
25   emotional distress, physical exhaustion, and discrimination when forced to assist
26   her to navigate and/or overcome physical access barriers.                              These injuries are
27   specific to Plaintiff’s independent right to access the Business and Property with
28   4
      Plaintiff’s knowledge of these barriers also deters his fiancé from returning to the Subject Property and Business;
     however, they will return upon being notified of remediation of the alleged barriers.
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                                                       COMPLAINT
     Case 8:20-cv-01428-DOC-ADS Document 1 Filed 08/04/20 Page 6 of 10 Page ID #:6


 1   his fiancé. The physical access barriers at the Business and Property deny Plaintiff
 2   his independent right to full and equal access to the Business and Property because
 3   of his association with his fiancé, a person with a mobility disability.
 4   23.      Upon being informed that this public place of accommodation has become
 5   fully and equally accessible, he will return within 45-days as a “tester” for the
 6   purpose of confirming its accessibility.5
 7   24.      Until such time, Plaintiff is being deterred from patronizing the Business.
 8   25.      As a result of his difficulty, humiliation, and frustration because of the
 9   inaccessible condition of the facilities of the Business, Plaintiff did not fully access
10   the Business or Property. However, Plaintiff would also like to return to the
11   location given its close proximity to an area he frequents from time to time.
12   26.      The Defendant(s) has failed to maintain in working and useable conditions
13   those features required to provide ready access to persons with disabilities.
14   27.      The violations identified above are easily removed without much difficulty
15   or expense. They are the types of barriers identified by the Department of Justice
16   as presumably readily achievable to remove and, in fact, these barriers are readily
17   achievable to remove.               Moreover, Plaintiff is informed and believes there are
18   numerous alternative accommodations that could be made to provide a greater
19   level of access if complete removal were not achievable.
20   28.      Given the obvious and blatant violation alleged hereinabove, Plaintiff
21   alleges, on information and belief, that there are other violations and barriers in the
22   site that relate to his disabilities. Plaintiff will amend the complaint, to provide
23   proper notice regarding the scope of this lawsuit, once he conducts a site
24   inspection. However, the Defendant(s) are on notice that Plaintiff seeks to have all
25   barriers related to their disabilities remedied.6
26   29.      Without injunctive relief, Plaintiff will continue to be unable to fully and
27   5
      Civil Rights Educ. and Enforcement Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
     6
      See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff encounters one barrier at a site, he can
28   sue to have all barriers that relate to his disability removed regardless of whether he personally encountered them).
                                                               6
                                                         COMPLAINT
     Case 8:20-cv-01428-DOC-ADS Document 1 Filed 08/04/20 Page 7 of 10 Page ID #:7


 1   equally enjoy access to Defendant’s facilities in violation of Plaintiff’s rights under
 2   the ADA.
 3   30.     In a statement, the U.S. Department of Justice’s Civil Rights Division
 4   affirms the Department will remain vigilant in enforcing civil rights laws during
 5   the COVID-19 pandemic to ensure that fear and prejudice do not limit access to
 6   housing, schools, benefits, services, jobs, and information, among other things, on
 7   account of race, sex, religion, national origin, disability, or other protected classes.
 8   “Laws prohibiting unlawful discriminatory behavior must and will be vigorously
 9   enforced.”7
10           FIRST CLAIM FOR VIOLATIONS OF THE AMERICANS WITH
11       DISABILITIES ACT OF 1990, 42 U.S.C. § 12181 et seq. as amended by the
12                           ADA Amendments Act of 2008 (P.L. 110-325)
13   31.     Plaintiff re-allege and incorporates by reference all paragraphs alleged above
14   and each and every other paragraph in this Complaint necessary or helpful to state
15   this claim as though fully set forth herein.
16   32.     Under the ADA, it is an act of discrimination to fail to ensure that the
17   privileges, advantages, accommodations, facilities, goods, and services of any
18   place of public accommodation are offered on a full and equal basis by anyone
19   who owns, leases, or operates a place of public accommodation. See 42 U.S.C. §
20   12182(a).
21   33.     Section 302(a) of Title III of the ADA, 42 U.S.C. §12101 et seq., provides in
22   relevant part:
23
             “No individual shall be discriminated against on the basis of disability
24           in the full and equal enjoyment of the goods, services, facilities,
25           privileges, advantages, or accommodations of any place of public
             accommodation by any person who owns, leases (or leases to), or
26           operates a place of public accommodation.” (42 U.S.C. §12182(a).)
27   7
       The U.S. Department of Justice has emphasized the importance of enforcing laws that prohibit unlawful
     discriminatory behavior, especially in the era of the COVID-19 emergency. See Statement by Assistant Attorney
28   General for Civil Rights Eric S. Dreiband Protecting Civil Rights While Responding to the Coronavirus Disease 2019
     (COVID-19) found at https://www.ada.gov/aag_covid_statement.pdf.
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                                                      COMPLAINT
     Case 8:20-cv-01428-DOC-ADS Document 1 Filed 08/04/20 Page 8 of 10 Page ID #:8


 1   34.   The Business and Property are public accommodations within the definition
 2   of Title III of the ADA, 42 U.S.C. §12181(7). The subject Business and Subject
 3   Property provide and are a service, privilege, or advantage of Defendants herein.
 4   35.   Under Section 302(b)(1) of Title III of the ADA, it is unlawful
 5   discrimination to deny individuals with disabilities the opportunity to participate in
 6   or benefit from the goods, services, facilities, privileges, advantages, or
 7   accommodations of an entity. (42 U.S.C. §12182(b)(1)(A)(i).)
 8   36.   Under Section 302(b)(1) of Title III of the ADA, it is unlawful
 9   discrimination to deny individuals with disabilities an opportunity to participate in
10   or benefit from the goods, services, facilities, privileges, advantages, or
11   accommodation, which is equal to the opportunities afforded to other individuals.
12   (42 U.S.C. §12182(b)(1)(A)(ii).)
13   37.   Under §302(b)(2) of Title III of the ADA, unlawful discrimination includes,
14   among other things:
15
           “[A] failure to make reasonable modifications in policies, practices, or
16         procedures, when such modifications are necessary to afford such
17         goods, services, facilities, privileges, advantages, or accommodations
           to individuals with disabilities, unless the entity can demonstrate that
18         making such modifications would fundamentally alter the nature of
19         such goods, services, facilities, privileges, advantages or
           accommodations; and a failure to take such steps as may be necessary
20         to ensure that no individual with a disability is excluded, denied
21         services, segregated or otherwise treated differently than other
           individuals because of the absence of auxiliary aids and services,
22         unless the entity can demonstrate that taking such steps would
23         fundamentally alter the nature of the good, service, facility, privilege,
           advantage, or accommodation being offered or would result in an
24         undue burden.” (42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).)
25   38.   Any business that provides parking spaces must provide accessible parking
26   spaces.   1991 Standards §4.1.2(5).     2010 Standards § 208.       Under the 1991
27   Standards, parking spaces and access aisles must be level with surface slopes not
28   exceeding 1:50 (2.0%) in all directions. 1991 Standards §4.6.2.
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                                          COMPLAINT
     Case 8:20-cv-01428-DOC-ADS Document 1 Filed 08/04/20 Page 9 of 10 Page ID #:9


 1   39.    In addition to lacking accessible disabled parking and access routes to the
 2   Business; the failure to ensure that accessible facilities were available and ready to
 3   be used by Plaintiff is a violation of law.
 4   40.    As set forth hereinabove, Defendants' failure to provide accessible parking
 5   and access route(s) are violations of the law.
 6   41.    A public accommodation must maintain in operable working condition those
 7   features of its facilities and equipment that are required to be readily accessible to
 8   and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 9   42.    Given its location and options, Plaintiff will continue to desire to patronize
10   the Subject Business but have been and will continue to be discriminated against
11   due to lack of accessible facilities and, therefore, seek injunctive relief to remove
12   the barriers.
13                                   SECOND CALIM FOR
14         VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
15   43.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
16   above and each and every other paragraph in this Complaint necessary or helpful to
17   state this cause of action as though fully set forth herein.
18   44.    California Civil Code § 51 et seq. guarantees equal access for people with
19   disabilities to the accommodations, advantages, facilities, privileges, and services
20   of all business establishments of any kind whatsoever.               Defendants are
21   systematically violating the UCRA, Civil Code § 51 et seq.
22   45.    Because Defendants violated Plaintiff’s rights under the ADA, Defendants
23   also violated the UCRA and are liable for damages. (Civ. Code § 51(f), 52(a).)
24   These violations are ongoing.
25   46.    Plaintiff is informed and believes and thereon alleges that Defendants’
26   actions constitute discrimination against Plaintiff on the basis of a disability, in
27   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
28   previously put on actual or constructive notice that the Business is inaccessible to
                                                   9
                                            COMPLAINT
     Case 8:20-cv-01428-DOC-ADS Document 1 Filed 08/04/20 Page 10 of 10 Page ID #:10


 1    Plaintiff.   Despite this knowledge, Defendants maintain its premises in an
 2    inaccessible form, and Defendants have failed to take actions to correct these
 3    barriers.
 4                                           PRAYER
 5     WHEREFORE, Plaintiff prays that this court award damages provide relief as
 6    follows:
 7           1.    A preliminary and permanent injunction enjoining Defendants from
 8    further violations of the ADA, 42 U.S.C. § 12181 et seq., and UCRA, Civil Code §
 9    51 et seq. with respect to its operation of the Business and Subject Property; Note:
10    Plaintiff is not invoking section 55 of the California Civil Code and is not
11    seeking injunctive relief under the Disable Persons Act at all.
12           2.    An award of actual damages and statutory damages of not less than
13    $4,000 per violation pursuant to § 52(a) of the California Civil Code and $4,000
14    for each time he visits an establishment that contains architectural barriers that
15    deny the Plaintiff of full and equal enjoyment of the premises (Feezor v. Del Taco,
16    Inc. (2005) 431 F.Supp.2d 1088, 1091.)
17           3.    An additional award of $4,000.00 as deterrence damages for each
18    violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
19    LEXIS 150740 (USDC Cal, E.D. 2016);
20           4.    For reasonable attorneys' fees, litigation expenses, and costs of suit,
21    pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
22                                DEMAND FOR JURY TRIAL
23           Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
24    raised in this Complaint.
25    Dated: August 4, 2020             LAW OFFICES OF BABAK HASHEMI, ESQ.
26

27                                      By: /s/ Babak Hashemi, Esq.
                                           Babak Hashemi, Esq.
28                                         Attorney for Plaintiff
                                                 10
                                             COMPLAINT
